19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 1 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 2 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 3 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 4 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 5 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 6 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 7 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 8 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 9 of 10
19-50681-amk   Doc 34   FILED 08/16/19   ENTERED 08/16/19 15:55:30   Page 10 of 10
